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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
                              Plaintiff,        )
                                                )
                                                     No. 21 CR 698
                      v.                        )
                                                )
                                                     Judge Gettleman
 RONALD T. MOLO,                                )
                                                )
                              Defendant.        )

                                 ATTORNEY DESIGNATION

       Please take notice that the undersigned Assistant United States Attorney has been

designated in the above captioned case. This designation is provided for informational purposes

only and does not constitute an appearance, a motion, or a responsive pleading and does not waive

any defenses. See LR 83.16(b).

                                            Respectfully submitted,

                                            MORRIS PASQUAL
                                            Acting United States Attorney


                                            By: s/ Julia D. Loper
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